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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION




    IN RE BITCONNECT SECURITIES LITIGATION             Lead Case No.: 9:18-cv-80086-DMM


                                                      CLASS ACTION

                                                      JURY TRIAL DEMANDED



         LEAD PLAINTIFFS’ OMNIBUS OPPOSITION TO THE MOTIONS TO
      DISMISS LEAD PLAINTIFFS’ AMENDED CONSOLIDATED CLASS ACTION
          COMPLAINT FILED BY DEFENDANTS GLENN ARCARO [DE 94],
               RYAN MAASEN [DE 86], AND YOUTUBE LLC [DE 88]


                                  Respectfully submitted,


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            Co-Lead Plaintiffs Albert Parks, an individual (“PARKS”); and Faramarz Shemirani, an

   individual (“SHEMIRANI”) (“Plaintiffs”), by and through their counsel, respectfully submit this

   omnibus response and memorandum of law (“Response”) to the Motions to Dismiss (the “MTDs”)

   Plaintiffs’ Amended Consolidated Class Action Complaint (the “Complaint” or “Compl.” [DE

   78]) filed by Defendant Glenn Arcaro, an individual (the “Arcaro Motion” or “Arcaro MTD” [DE

   94] filed by “ARCARO”); Defendant Ryan Maasen, an individual (the “Maasen Motion” or

   “Maasen MTD” [DE 84] filed by “MAASEN” and together with ARCARO, the “Promoter

   Defendants”), 1 and Defendant YouTube, LLC, a Delaware limited liability company (the

   “YouTube Motion” or “YouTube MTD” [DE 88] filed by “YOUTUBE”).

                                     NATURE OF THE ACTION

            This action seeks redress on behalf of tens of thousands of individuals and entities who

   suffered financial harm due to their investments in BITCONNECT’s 2 fraudulent Ponzi/pyramid

   schemes—the BitConnect Lending Program and the BitConnect Staking Program (the

   “BitConnect Investment Programs”). The BitConnect Investment Programs gained popularity

   primarily due to BITCONNECT’s multi-level affiliate marketer program (the “Referral Program”

   or “Affiliate Program”). 3




   1
     Defendants ARCARO and MAASEN are jointly referred to as “Promoter Defendants” solely for
   the purposes of this Response. However, Plaintiffs note that this same term is used in their
   Complaint to refer to additional individual defendants that have not yet appeared or responded to
   the Complaint.
   2
     “BITCONNECT” refers collectively to the business entities Bitcoin AMR Limited f/k/a
   BitConnect Public Limited, a foreign corporation; BitConnect International PLC, a foreign
   corporation; BitConnect Ltd., a foreign corporation; and BitConnect Trading Ltd., a foreign
   corporation.
   3
       Compl. at ¶6.


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             This Affiliate Program was a run-of-the-mill multi-level marketing (“MLM”) scheme. 4

   That is, “affiliates”—e.g., ARCARO and MAASEN—were paid commissions for their successful

   solicitation of additional investments in the BitConnect Investment Programs. These “affiliates”

   received a percentage of any investments made by those they “referred”; and if their referrals

   themselves became affiliates, they also received a percentage of investments from subsequent

   investors recruited by their referrals. 5 Defendants ARCARO and MAASEN were each highly

   influential—and highly paid—participants in the Referral Program. 6

             Defendant ARCARO’s significant role in BITCONNECT’s scheme is clear in light of the

   facts that he, inter alia: (1) was employed by BITCONNECT as one of just two “National

   Promoters” for BITCONNECT’s operations within the United States—a position in which he was

   personally responsible for managing a team of U.S.-based affiliates/recruiters that successfully

   solicited tens of millions of dollars from the general public; (2) reported directly to Defendant

   Satish Kumbhani (“SATISH”); 7 and (3) participated as an active Director of Defendant

   BITCONNECT INTERNATIONAL PLC. 8

             Likewise, Defendant MAASEN’s significant role is clear considering the facts that he,

   inter alia: (1) was employed by BITCONNECT as a “Regional Promoter”; (2) received of a

   separate salary from BITCONNECT—which was paid in addition to commissions; and (3)



   4
       Id.
   5
    Id. In MLM schemes, the recruiters below an affiliate are considered to be in their “downline”
   whereas the recruiters which they themselves pay are in their “upline.”
   6
       Id.
   7
     Defendant SATISH is regarded as one of BITCONNECT’s founders. India’s Criminal
   Investigation Department (“CID”) alleges that SATISH fled to Dubai one-month prior to
   BITCONNECT closing the BitConnect Investment Programs. Id. ¶43
   8
       Id. ¶¶ 90, 153.


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   received over 850,000 views of the nearly 100 BITCONNECT promotional videos he posted on

   his YOUTUBE channel. 9

             For each of the Promoter Defendants’ roles as “sellers” of BITCONNECT’s unregistered

   investment contract securities—in the form of BCCs and/or the BitConnect Investment

   Programs—and knowing active participation in furtherance of BITCONNECT’s fraudulent

   schemes, Plaintiffs allege the following claims (unless otherwise noted):

             COUNT I. Violation of Section 12(a) of the Securities Act of 1933 (“Securities Act”);

             COUNT XII Violation of Section 15(a) of the Securities Act; 10

             COUNT XV. Unjust Enrichment;

             COUNT XVI. Violation of Florida’s Deceptive and Unfair Trade Practices Act
             (“FDUTPA”);

             COUNT XVII. Fraudulent Inducement;

             COUNT XVIII. Fraudulent Misrepresentation;

             COUNT XIX. Negligent Misrepresentation;

             COUNT XX. Conversion; and

             COUNT XXI. Civil Conspiracy.

             The Promoter Defendants’ motions each seek dismissal of the Complaint’s claims under

   Rule 12(b)(2) of the Federal Rules of Civil Procedure on the basis that this Court purportedly lacks

   personal jurisdiction over them. See Arcaro MTD at 6–11 and Maasen MTD at 5–11. More

   specifically, the Promoter Defendants each provide lengthy legal and factual analyses contending

   that, with respect to themselves, Florida’s long-arm statute does not confer personal jurisdiction;

   and that even if it had, such jurisdiction would have been prohibited by constitutional limitations


   9
       Id. ¶¶ 167; 170; 206.
   10
        This Count is alleged only against Defendant ARCARO.

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   on due process under the Fourteenth Amendment. Id. These arguments fail for the following

   reasons: (1) Plaintiffs’ claims alleged under the federal securities laws provide the basis for

   personal jurisdiction; (2) the Fifth Amendment’s constitutional limits on due process apply – rather

   than the Fourteenth Amendment’s; and (3) Plaintiffs’ federal claims provide this Court with

   supplemental jurisdiction (pendant jurisdiction) over the Complaint’s state and common law

   claims. The Promoter Defendants also each seek dismissal of the Complaint’s claims under

   Federal Rule of Civil Procedure 12(b)(6) (“Rule 12(b)(6)”) on the grounds that the Complaint

   purportedly fails to adequately state a claim for relief under any of the Counts alleged. As detailed

   infra, the Promoter Defendants’ arguments fail as they: (i) are premised on a clear

   misunderstanding of the legal questions before this Court; (ii) set forth and apply irrelevant

   standards of law in direct conflict with controlling precedent; and/or (iii) are premised on a

   willingness to simply ignore the Complaint’s highly-detailed allegations.

            Several of BITCONNECT’s most successful affiliate promoters, including Defendants

   ARCARO and MAASEN, had partnerships with YOUTUBE pursuant to which each party

   obtained considerable profit from the dissemination of BITCONNECT’s fraudulent and harmful

   content to tens of thousands of unsuspecting victims across the globe. 11 As set forth in the

   Complaint and infra, YOUTUBE, by its own volition, assumed the duty to protect its users,

   including Plaintiffs and the proposed class members, from harmful content disseminated by its

   “partners”; YOUTUBE breached this duty by ignoring its self-imposed advertising protocols and

   proprietary algorithms; and this breach proximately caused Plaintiffs’ and the proposed class’

   damages by lending an air of legitimacy to BITCONNECT’s fraudulent schemes and empowering

   their partners (the Promoter Defendants) with the ability to solicit investments in the BitConnect



   11
        Compl. ¶7.
                                                    4
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   Investment Programs from millions of potential, and actual, investors—including Plaintiffs and

   the proposed class—that they would not have been otherwise able to solicit. For this breach and

   for YOUTUBE’s failure to warn Plaintiffs and the proposed class members of the dangers

   associated with investing with BITCONNECT, Count XXII of the Complaint seeks relief against

   Defendant YOUTUBE.

          Defendant YOUTUBE seeks dismissal of Count XXII of the Complaint under Rule

   12(b)(2) on the grounds that this Court purportedly lacks personal jurisdiction over YOUTUBE.

   YouTube MTD at 4–6. Additionally, YOUTUBE seeks dismissal under Rule 12(b)(6) because:

   (a) YOUTUBE is purported “immune” from Plaintiffs’ negligence claim; (b) Plaintiffs’ claim is

   purportedly barred by Section 230 of the Communications Decency Act (“CDA”), 47 U.S.C. §

   230 (“Section 230”); and (c) YOUTUBE purportedly lacked any duty to warn in the first place

   and thus, no failure could have occurred. YouTube MTD at 6–20.

          YOUTUBE’s efforts to obtain a dismissal under Rule 12(b)(2) fail because Plaintiffs’

   federal claims provide supplemental jurisdiction as to their negligence claim as they each plainly

   arise from a “common nucleus of operative fact.” YOUTUBE’s arguments for dismissal under

   Rule 12(b)(6) similarly fail because: (a) while Section 230 grants broadcasters a significant amount

   of leeway, YOUTUBE is not immune from Plaintiffs’ claim; and (b) the Complaint clearly

   establishes each of the four elements necessary to sustain Plaintiffs’ negligence claim, to wit: (1)

   YOUTUBE owed Plaintiffs and the proposed class a duty of reasonable care, one which it assumed

   voluntarily; (2) YOUTUBE breached that duty of reasonable care by failing to warn Plaintiffs and

   the proposed class of the dangers of investing in BITCONNECT; (3) Plaintiffs and the proposed

   class suffered damages; and (4) such damages were proximately caused by YOUTUBE’s breach

   of its duty. Compl. ¶ 352.



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          Accordingly, the Promoter Defendants’ and YOUTUBE’s respective Motions to Dismiss

   Plaintiffs’ Complaint should be denied in full.


                               STATEMENT OF RELEVANT FACTS

   I.     BCCs AND THE BITCONNECT INVESTMENT PROGRAMS

          BITCONNECT created its BitConnect Coins (“BCC”) in late-2016; and shortly thereafter,

   it launched the BitConnect Investment Programs. Compl. ¶¶ 79-86. To invest in the BitConnect

   Investment Programs, investors were required to purchase BCCs on a BITCONNECT-created

   exchange dubbed the “BCC Exchange” with bitcoin (“BTC”) or fiat currency. Id. ¶ 3. BCCs have

   never been registered as a security with the Securities and Exchange Commission. Id. ¶ 173.

          The BitConnect Lending Program was marketed and sold on the Internet as an opportunity

   for investors to “lend” their BCCs back to BITCONNECT, which BITCONNECT would then

   purportedly use to generate profits by purchasing BTC when its price was low and selling BTC

   when its price was high — a “buy low, sell high” strategy that was purportedly effectuated by a

   BITCONNECT-designed “trading bot” implementing a proprietary trading algorithm: the

   “Volatility Software.” Id. ¶ 4. In exchange for “lending” BCCs to BITCONNECT, investors were

   “guaranteed” lucrative returns on their investments. Id. These returns were allegedly backed by

   the earnings promised by BITCONNECT’s development and implementation of the trading

   algorithms, which would purportedly produce returns sufficient to pay returns of “up to 40% Per

   Month.” Id. ¶¶ 116–121.

          The BitConnect Staking Program was marketed and sold on the Internet as an opportunity for

   investors to “stake” their BCCs by holding their BCCs in the BITCONNECT-QT wallet (a software

   and/or online wallet created by BITCONNECT). In exchange for “staking” BCCs in the BITCONNECT-

   QT Wallet, investors were “guaranteed” lucrative returns on their investments. Id. ¶ 5. The BitConnect


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   Staking Program and BCCs in general were sold as “interest bearing asset[s] with 120% return per

   year. It is that simple.” Id. ¶ 122.

   II.     THE BITCONNECT REFERRAL PROGRAM, NATIONAL PROMOTER ARCARO
           AND REGIONAL PROMOTER MAASEN

           To disseminate BITCONNECT’s investment offerings and solicit interest in BCCs and/or

   the BitConnect Investment Programs, BITCONNECT created the BitConnect Referral Program

   under which “affiliates” would be compensated for getting others to invest in BITCONNECT. Id.

   ¶ 126. The BitConnect Affiliate Program was, quite literally, a pyramid scheme—as plainly

   evident in the following graphic BITCONNECT released:




           Much like its Referral Program, BITCONNECT’s organizational structure was,

   unsurprisingly, itself a pyramid. Id. ¶ 89. BITCONNECT’s top “promoter” employee was

   Defendant SATISH. Id. Directly below him, were the “National Promoters,” which included

   Defendant ARCARO. Id. ¶¶ 89-90. BITCONNECT also employed “Regional Promoters,” who

   reported to the National Promoter of their respective countries. For example, BITCONNECT

   employed Defendant ARCARO as a National Promoter for the United States and Defendant

   MAASEN as a Regional Promoter that reported directly to ARCARO. Id. ¶¶ 90-91.

           The Promoter Defendants were not merely participants in this program; rather, each was a

   BITCONNECT employee and received additional compensation in the form of so-called
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   “development funds.” Id. ¶ 141. These funds were paid out from BITCONNECT to National

   Promoters, e.g., ARCARO, who then used and disbursed these funds to their assigned Regional

   Promoters, e.g., MAASEN. Id. ¶¶ 141-144.

             In addition to ARCARO being employed as one of BITCONNECT’s “National

   Promoters,” he was also an active Director and shareholder of Defendant BITCONNECT

   INTERNATIONAL PLC. Id. ¶¶ 93-94. In the words of ARCARO’s co-defendant, Craig Grant

   (“GRANT”), during a publicly released group chat including ARCARO—the entity was

   BITCONNECT’s “new setup”—an “international company ran by all top promoters.” Id. ¶ 96.

   GRANT further stated that ARCARO “told me about” it and how “he [ARCARO] had to send all

   his documents to bitconnect a couple of months ago so they can [sic] make a new company with

   all the promoters.” Id. ¶ 51.

      III.      BITCONNECT COLLAPSES

             On January 4, 2018, the Texas State Securities Board issued an Emergency Cease and

   Desist Order against BITCONNECT in which the Securities Commissioner of the State of Texas

   presented his office’s conclusion that BITCONNECT, inter alia, had unlawfully, and fraudulently,

   engaged in the offer and sale of securities in violation of numerous securities regulations and that

   their actions threatened immediate and irreparable public harm. Id. ¶ 187.

             On January 9, 2018, the Secretary of State of North Carolina - Securities Division issued

   Temporary Cease and Desist Order against BITCONNECT in which it ordered BITCONNECT to

   restrain from further violating state securities laws because BITCONNECT’s investment offerings

   were unregistered securities being offered to North Carolina’s residents and that those investments

   posed an immediate and irreparable harm to such residents. Id. ¶ 188.




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          On January 13, 2018, BITCONNECT’s website went down; and by January 16, 2018,

   BITCONNECT officially announced that the BitConnect Investment Programs were shut down,

   effective immediately. Id. ¶ 189. Within moments of this announcement, the price of BCC

   plummeted nearly ninety-percent in value; as it had become effectively useless. Id. As set forth

   in great detail throughout the Complaint, BITCONNECT’s unlawful schemes have caused

   Plaintiffs and the proposed class damages in excess of $2 billion.

                                      PROCEDURAL HISTORY

          This action was initiated on January 24, 2018, on behalf of the putative class of tens of

   thousands of victims who suffered injury as a result of their investments in BCCs and the

   BitConnect Investment Programs, with claims being asserted against BITCONNECT and certain

   BITCONNECT employees/affiliate promoters for their roles in perpetuating its unlawful, and

   fraudulent, securities offerings. Over the following months, related class action lawsuits against

   BITCONNECT and certain of its affiliates were filed, including:

          1) Paige v. BitConnect Int’l PLC, No. 3:18-cv-58-JHM-CHL) (W.D.Ky Jan. 29, 2018)

              (the “Paige Action”);

          2) Mengesha v. BitConnect Int’l PLC, et al., 0:18-cv-279- WMW-SER) (D.Minn. Jan. 31,

              2018);

          3) Kline, et al. v. BitConnect Int’l PLC, et al., 8:18-cv-00319-EAK-MAP Feb. 7, 2018)

              (the “Kline Action”);

          4) Long et al v. BitConnect International PLD, et al, 18-cv-154-RBD-DCI (M.D. Fla. Jan.

              30, 2018) (the “Long Action”); and




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           5) Avalos v. BitConnect International Plc, et al., 1:18cv21118 (S.D. Fla. Mar. 23, 2018)

                (the “Avalos Action” and collectively with the Paige Action, Mengesha Action, Kline

                Action, and Long Action, the “Related Actions”).

           On February 2, 2018, Plaintiff Paige of the Paige Action filed a motion for a Preliminary

   Injunction against Defendant MAASEN. Paige Action at DE 9. On February 26, 2018, Chief

   Judge Joseph H. McKinley, Jr. of the United States District Court for the Western District of

   Kentucky granted Paige’s motion and imposed a Preliminary Injunction against Defendant

   MAASEN pursuant to which MAASEN was “authorized to use his finances for: 1) retention of

   legal counsel and ongoing legal fees and costs, 2) payment of reasonable personal expenses for

   him and his family and 3) trading and investing cryptocurrencies for the purpose of generating

   personal income.” Paige Action, DE 22. Any other use of Defendant MAASEN’s assets are

   prohibited unless specifically allowed by the Court. Id.

           On April 13, 2018, pursuant to the Private Securities Litigation Reform Act, Plaintiffs filed

   a motion for appointment as lead plaintiff in this Action. DE 31. Plaintiffs also filed separate

   motions seeking appointment as lead plaintiff in, or where appropriate, consolidation of, each of

   the Related Actions. On June 19, 2018, pursuant to the PSLRA, this Court entered an Order

   consolidating the related actions pending in this district, appointing Plaintiffs as Co-Lead Plaintiffs

   in this action, and appointing Plaintiffs’ counsel as Co-Lead Counsel to serve on behalf of Plaintiffs

   and the putative class. [DE 46]. In the months following Plaintiffs’ appointment, each of the

   Related Actions have also been transferred this Court and are now consolidated with this instant

   action. 12


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     See Long Action, Transfer Order, DE 13-2 (Mar. 9, 2018); Kline Action, Transfer Order, DE 32
   (Apr. 13, 2018); Order Approving Stipulation to Consolidate and Appoint Lead Plaintiff (DE 46);
   Mengesha Action, Transfer Order, DE 30 (Sept. 27, 2018); and Paige Action, Transfer Order, DE

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           On August 14, 2018, the Court issued a Pretrial Scheduling Order pursuant to which

   Plaintiffs were required to file an amendment to their complaint by October 11, 2018. [DE 64].

   Pursuant to this Order, on October 11, 2018, Plaintiffs filed the Complaint. The Maasen MTD and

   YouTube MTD were both filed on October 25, 2018. Defendant ARCARO’s MTD was filed on

   November 8, 2018.


                                              ARGUMENT

      I.        PLAINTIFFS HAVE ESTABLISHED THIS COURT’S PERSONAL
                JURISDICTION OVER THE PROMOTER DEFENDANTS AND YOUTUBE

           A.     Standard of Review On A Rule 12(b)(2) Motion To Dismiss

           “A plaintiff seeking the exercise of personal jurisdiction over a nonresident defendant bears

   the initial burden of pleading enough facts to make out a prima facie case for personal

   jurisdiction.” High Tech Indus. v. Bethel Transp., Ltd., No. 18-14173-CIV, 2018 U.S. Dist. LEXIS

   96060, at *2-3 (S.D. Fla. June 6, 2018) (citing United Techs. Corp. v. Mazer, 556 F.3d 1260, 1274

   (11th Cir. 2009)). “A prima facie case is established if the Plaintiff presents enough evidence to

   withstand a motion for directed verdict.” Consol. Dev. Corp. v. Sherritt, Inc., 216 F3d 1286, 1291

   (11th Cir 2000). ). Here, the Complaint readily satisfied that standard; and personal jurisdiction

   over the Promoter Defendants and YOUTUBE is clearly warranted.

           B.     A Statutory Basis For Personal Jurisdiction Exists Here

           The Promoter Defendants both seek a Rule 12(b)(2) dismissal of the Complaint’s claims

   on the basis that Florida’s long-arm statute does not confer personal jurisdiction and that even if it

   had, such jurisdiction would have been prohibited by constitutional limitations on due process




   29 (Nov. 13, 2018). Notably, Plaintiff Bryan Paige filed his motion to transfer the Paige Action
   to this Court on September 7, 2018.
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   under the Fourteenth Amendment. These arguments miss the mark. Personal jurisdiction in this

   case is not premised on Florida’s long-arm statute, but rather on a specific statutory provision, 15

   U.S.C. § 77v(a), which authorizes nationwide service of process for claims brought under the

   federal securities laws. “When a federal statute provides for nationwide service of process, it

   becomes the statutory basis for personal jurisdiction.” Republic of Panama v. BCCI Holdings

   (Luxembourg) S.A., 119 F.3d 935, 942 (11th Cir. 1997). In analyzing a motion to dismiss for lack

   of personal jurisdiction under Fed. R. Civ. P. 12(b)(2), the court must determine whether the

   applicable statute potentially confers jurisdiction over the defendants, and then determine whether

   the exercise of jurisdiction comports with due process. See BCCI Holdings, 119 F.3d. at 940; Sun

   Bank, N.A., v. E.F. Hutton & Co., Inc., 926 F.2d 1030, 1033 (11th Cir.1991); Go–Video, Inc. v.

   Akai Elec. Co., Ltd., 885 F.2d 1406, 1413 (9th Cir.1989). ). With regard to the Complaint in the

   instant matter, both of those requirements have been met.

                  1.      The Securities Act Confers Nationwide Jurisdiction Over the Promoter
                          Defendants

          The first consideration here is easily determined. Because the Securities Act provides for

   nationwide service of process in 15 U.S.C. § 77v(a), it is the statutory basis for personal jurisdiction

   in this case, not Florida’s long-arm statute. See BankAtlantic v. Coast to Coast Contractors, Inc.,

   947 F. Supp. 480, 484 (S.D. Fla. 1996); U.S. S.E.C. v. Carrillo, 115 F.3d 1540, 1544 (11h Cir.

   1997) (finding that “[b]ecause in this case our personal jurisdiction is invoked based on the

   applicable federal securities laws, which provide for worldwide service of process, we conclude

   that the proper forum for minimum contacts analysis is the United States”).

                  2.      Jurisdiction By This Court Comports With Due Process

          Next, the constitutional limits of due process must be considered. “It is well established

   that when, as here, a federal statute provides the basis for jurisdiction, the constitutional limits of

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   due process derive from the Fifth, rather than the Fourteenth, Amendment.” BCCI Holdings, 119

   F.3d. at 942. The Fifth Amendment inquiry focuses the fairness and reasonableness of requiring

   a defendant to litigate in a particular forum. See Chase v. Sandborn, 835 F.2d 1341, 1345 (11th

   Cir. 1988) To evaluate whether the Fifth Amendment requirements of fairness and reasonableness

   have been satisfied, courts balance the burdens imposed on the individual defendant against the

   federal interest involved in the litigation. See Asahi Metal Indus. Co., Ltd. v. Superior Court of

   California, 480 U.S. 102, 114 (1987) (reasonableness depends on burden to defendant, interest of

   sovereign, and plaintiff’s interest in obtaining relief). This balance, however, should only be

   considered if a defendant has established that his liberty has actually been infringed. See BCCI

   Holdings, 119 F.3d at 946. And a defendant’s contacts with the forum state “play not a magical

   role in the Fifth Amendment analysis.” Id. Rather a court must only ensure that requiring

   defendants to litigate in a plaintiff’s chosen forum is not “unconstitutionally burdensome.” Id. at

   947. The. Eleventh Circuit precedent clearly establishes that “it is only in highly unusual cases

   that inconvenience will rise to a level of constitutional concern.” Id. The burden is on the

   defendant to demonstrate that the assertion of jurisdiction in the forum will “make litigation ‘so

   gravely difficult and inconvenient’ that [he] unfairly is at a ‘severe disadvantage’ in comparison

   to his opponent.” Burger King Corp. v. Rudzewicz, 471 U.S. 462, 478 (1985) (citations omitted)

          The Promoter Defendants have not demonstrated, and cannot demonstrate, that defending

   the litigation in this forum would be so gravely difficult and inconvenient as to put them at a severe

   disadvantage. ARCARO merely argues that “Mr. Arcaro is an individual who lives more than

   2,500 miles from this court, in California” and that “[t]he burden of defending this case in Florida

   would be—and already is—significant,” but he provides no demonstration corroborating this

   burden. Arcaro MTD at 10. In fact, ARCARO has not had to appear in this Court and will likely



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   not have to appear in this Court but for trial. Any discovery from him, including a deposition,

   would likely take place in or near his principal residence. Similarly, MAASEN makes claims to

   support an argument the requisite showing of grave difficulty and severe disadvantage. See

   Maasen MTD at 8.

          Moreover, Plaintiffs, as noted by the Promoter Defendants, are not residents of Florida,

   and thus would have no strategic or tactical advantage from litigating before this Court. Thus, it

   is absurd to contend, in this era of electronic filing and web-based legal research, that a defendant

   would be constitutionally prejudiced by litigating in Florida. “While distant litigation often is more

   bothersome than litigation at home, inconvenience that is not substantial should be ignored for

   constitutional purposes.” Maryellen Fullerton, Constitutional Limits on Nationwide Personal

   Jurisdiction in the Federal Courts, 79 Nw. U.L.Rev. 1, 38 (1984).

          Because the Promoter Defendants have not demonstrated any constitutionally significant

   inconvenience, they have not met their burden of showing an infringement of their individual

   liberty interests as protected by the Fifth Amendment. See BCCI, 119 F.3d at 948. Thus, the

   Promoter Defendants’ MTDs for lack of personal jurisdiction should be denied.

          C.      Supplemental Jurisdiction Attaches To Plaintiffs’ Remaining Claims

          “Under 28 U.S.C. § 1367(a), in any civil action over which a federal district court has

   original jurisdiction, the court may exercise supplemental jurisdiction ‘over all other claims that

   are so related to claims in the action within such original jurisdiction that they form part of the

   same case or controversy under Article III of the United States Constitution.’ ‘The constitutional

   'case or controversy' standard confers supplemental jurisdiction over all state claims which arise

   out of a common nucleus of operative fact with a substantial federal claim.’” All Underwriters

   Subscribing to Policy of Ins. No. B0621MMILSYB15055 v. Rika Boats Ltd., No. 16-20498-CIV-



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   LENARD/GOODMAN], 2017 U.S. Dist. LEXIS 8969, at *15-16 (S.D. Fla. Jan. 20, 2017)

   (quoting Parker v. Scrap Metal Processors, Inc., 468 F.3d 733, 743 (11th Cir. 2006)). “The factors

   the Court considers when determining whether to exercise supplemental jurisdiction over state

   claims are judicial economy, convenience, fairness to the parties, and whether all claims would be

   expected to be tried together. Parker, 468 F.3d at 745 (citing United Mine Workers v. Gibbs, 383

   U.S. 715, 725–26 (1966)).

             The Promoter Defendants further contend that jurisdiction as to Plaintiffs’ federal securities

   claims should not confer jurisdiction as to the remaining causes of action which arise under state

   or common law. For example, Defendant MAASEN suggests that, because the number of

   Plaintiffs’ federal securities claims is less than the number of their state and common law claims,

   jurisdiction over the former should not provide supplemental, or pendant, jurisdiction over the

   latter:

             Plaintiffs bring seven Florida claims against Maasen and lack standing to bring their
             lone deficiently pled federal claim against him. See Section II.A, infra. Thus,
             Plaintiffs cannot credibly argue for a nationwide “minimum contacts” approach.

   Maasen MTD at 7.

             In a similar vein, Defendant ARCARO argues:

             To the extent Plaintiffs contend that 15 U.S.C. § 77v precludes the necessity of
             analysis under Florida’s long-arm statute, Arcaro submits that the Securities Act
             counts (Counts I, XII) must be dismissed. See Section IV.A, infra”

   Arcaro Motion at 6 and n.3.

             Such arguments fail to account for the fact that Plaintiffs’ state and common law claims

   “arise out of a common nucleus of operative fact” as their federal claims and are therefore afforded

   supplemental/pendant jurisdiction through the Court’s jurisdiction over their federal claims. See

   Lucero v. Trosch, 121 F.3d 591, 597 (11th Cir. 1997). Here, Plaintiffs’ claims share a common



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   nucleus of operative fact, as they each arise from BITCONNECT’s unlawful, and fraudulent, offer

   and sale of unregistered securities in the form of BCCs, the BitConnect Lending Program and/or

   the BitConnect Staking Program. Accordingly, supplemental/pendant jurisdiction attaches to their

   state and common law claims. Id.

          YOUTUBE’s efforts to obtain a dismissal under Rule 12(b)(2) similarly fail because

   Plaintiffs’ federal claims provide supplemental jurisdiction as to their negligence claim, as they

   each plainly arise from a “common nucleus of operative fact.” Importantly, “federal jurisdiction

   to try a pendent claim exists even when the federal claim is dismissed before trial if the federal

   claim is dismissed before trial if the federal claim was "not insubstantial. . . . Under this test, if

   there is ‘any foundation of plausibility to the claim, federal jurisdiction [over the pendent claim]

   exists.’” Grail Semiconductor, Inc. v. Stern, 2012 U.S. Dist. LEXIS 167140, at *6 (S.D. Fla. Nov.

   26, 2012) (quoting Grail Garner v. Pearson, 732 F.2d 850, 854 (11th Cir. 1984)). Plaintiffs’

   federal securities claims plainly have substantially more than a mere “foundation of plausibility.”

   Moreover, even if Plaintiffs’ federal securities claims were dismissed prior to trial, pendant

   jurisdiction would still attach to their remaining claims.

          D.      The Court Has Personal Jurisdiction Over YOUTUBE

          Much like its partners ARCARO and MAASEN, YOUTUBE also argues that Plaintiffs’

   action should be dismissed for lack of personal jurisdiction under Rule 12(b)(2). To determine

   whether personal jurisdiction exists over an out-of-state defendant, a court must conduct a two-

   pronged analysis. Sculptchair, Inc. v. Century Arts, Ltd., 94 F.3d 623, 626 (11th Cir.1996).). First,

   the Court must assess whether there is jurisdiction under the state's long-arm statute. Id. Second,

   the court must decide whether the defendant has established sufficient minimum contacts with the

   state, such that the exercise of jurisdiction will satisfy the Fourteenth Amendment's due process



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   requirement by comporting with “traditional notions of fair play and substantial

   justice.” Id. (quoting Int'l Shoe v. Washington, 326 U.S. 310, 316 (1945)).

          Florida's long-arm statute—Fla. Stat. § 48.193—provides for personal jurisdiction over a

   nonresident defendant under two sets of circumstances. The first, contained in Fla. Stat. §

   48.193(1), provides for specific personal jurisdiction when a claim arises from the defendant's

   forum-related contacts. Actions that give rise to specific jurisdiction include carrying on a

   business in Florida, which confers jurisdiction pursuant to § 48.193(1)(a). Alternate Energy Corp.

   v. Redstone, 328 F. Supp. 2d 1379, 1382 (S.D. Fla. 2004). Here, Plaintiffs’ Complaint alleges that

   defendant GRANT, a resident of Florida, was an active promoter of BITCONNECT’s through his

   use of videos posted on YOUTUBE wherein he solicited investments for the BitConnect

   Investment Programs. Compl. ¶¶ 51, 56. Moreover, the Complaint specifically alleges that

   Defendant GRANT was spending $7,000 per week on marketing with Google and YOUTUBE as

   of October 2017. Id. ¶ 148.

          In considering whether YOUTUBE has sufficient minimum contacts with Florida, the

   Court must consider: (1) whether YOUTUBE has purposefully availed itself of the benefits of

   doing business in the forum state; (2) whether the cause of action arose out of the activities through

   which YOUTUBE did so; and (3) whether YOUTUBE could have reasonably anticipated being

   haled into court in the forum state. Burger King, 471 U.S. at 475.                          In determining

   whether Internet contacts     satisfy     the    above      factors,    Florida    courts   have       applied

   the Zippo precedent,       which   holds        that    engaging       in    commercial     activity     over

   the Internet constitutes     sufficient     minimum          contacts       to    satisfy   due        process

   requirements.    Alternate Energy, 328 F. Supp. 2d at 1382. Given that YOUTUBE not only

   permits viewers in Florida to view its content, but also persons in Florida, like GRANT, to post



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   content on it, YOUTUBE clearly engages in commercial activity that involves this forum. Thus,

   YOUTUBE has sufficient minimum contacts with this forum to satisfy due process.

      II.         STANDARD OF REVIEW ON A RULE 12(B)(6) MOTION

             For purposes of a motion to dismiss under Rule 12(b)(6), the Court’s review is “limited to

   the four corners of the complaint.” See Mitsui Sumitomo Ins. Co. v. Carbel, LLC, No. 09-21208-

   CV, 2011 WL 13099717, at *4 (S.D. Fla. Mar. 17, 2011) (quoting St. George v. Pinellas Cty., 285

   F.3d 1334, 1337 (11th Cir. 2002). The Court must also accept as true all factual allegations in the

   complaint and evaluate all inferences derived from those facts in the light most favorable to

   plaintiff. Id.; see also Hoffend v. Villa, 261 F.3d 1148, 1150 (11th Cir. 2001).

      III.        THE PROMOTER DEFENDANTS ARE LIABLE UNDER THE FEDERAL
                  SECURITIES LAWS

             As discussed herein, the Promoter Defendants violated Sections 12(a)(1), 15 U.S.C. §

   77l(a)(1), of the Securities Act by offering and selling unregistered securities—in the form of

   BCCs and the BitConnect Investment Programs—as part of their, respective, employment with

   BITCONNECT. Defendants’ actions in soliciting investments in BCCs and/or the BitConnect

   Investment Programs directly violated the Securities Act and have deprived Plaintiffs and the Class

   of their rights and protections under the federal securities laws.

             A.      Elements of Plaintiffs’ Section 12(a)(1) Claims

             Section 12(a)(1), 15 U.S.C. § 77l(a)(1), of the Securities Act creates a private right of action

   against any person who “offers or sells a security in violation of” Section 5, 15 U.S.C. § 77e, of

   the Securities Act. See e.g., Raiford v. Buslease, Inc., 825 F.2d 351, 353 (11th Cir. 1987) (“Section

   12[a](1) merely provides a remedy for a violation of that section by authorizing recovery in a civil

   action against any person who offers or sells a security in contravention of section 5(a)”). Section

   5 of the Securities Act prohibits the offer or sale of unregistered securities. 15 U.S.C. § 77e.. “The


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   lynchpin of the [Securities] Act is its registration requirement.” Omnicare, Inc. v. Laborers Dist.

   Council Const. Indus. Pension Fund, 135 S. Ct. 1318, 1323 (2015)

           Due to the varied and innumerable ways in which investors are likely to be manipulated

   and harmed absent the protections of the federal securities laws, Sections 5 and 12(a)(1) of the

   Securities Act provide for strict liability against any person who offers or sells an unregistered

   security. See Pinter v. Dahl, 486 U.S. 622, 638 (1988)) (“The registration requirements are the

   heart of the [Securities] Act, and § 12[a](1) imposes strict liability for violating those requirements.

   Liability under § 12[a](1) is a particularly important enforcement tool, because in many instances

   a private suit is the only effective means of detecting and deterring a seller’s wrongful failure to

   register securities before offering them for sale.”) (citation omitted); see also Raiford, 825 F.2d at

   354 (“Section 12[a](1) will allow a purchaser to recover his investment ‘regardless of whether he

   can show any degree of fault, negligent or intentional, on the seller’s part’”) (citation omitted);

   Eaton v. Coal Par of W. Virginia, Inc., 580 F. Supp. 572, 576 (S.D. Fla. 1984) (“As modified by

   section 5, section 12[a](1) prohibits the use of interstate commerce or of the mails to aid in the

   offer or sale of an unregistered security . . .”).

           To adequately plead a Section 5 violation, and thus liability under Section 12(a)(1), a

   “plaintiff need only allege [1] the sale or offer to sell securities, [2] the absence of a registration

   statement covering the securities, and [3] the use of the mails or facilities of interstate commerce

   in connection with the sale or offer.” Raiford, 825 F.2d at 354; see also SEC v. Big Apple

   Consulting USA, Inc., 783 F.3d 786, 806-07 (11th Cir. 2004) (setting forth same three elements

   for a Section 5 violation); Scheck Investments, L.P. v. Kensington Mgt., Inc., 04-21160-CIV, 2009

   WL 10668565, at *4 (S.D. Fla. June 17, 2009) (same). A careful review of the Complaint clearly

   demonstrates that all such required allegations are properly set forth against the movants.



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          B.      BCCs Constitute “Investment Contract Securities”

          Under Section 2(a)(1), 15 U.S.C. § 77b(a)(1), of the Securities Act, the definition of a

   “security” includes an “investment contract.” “An investment contract is an investment of money

   in a common enterprise with a reasonable expectation of profits to be derived from the

   entrepreneurial or managerial efforts of others.” SEC v. Edwards, 540 U.S. 389, 393 (2004). “This

   definition ‘embodies a flexible, rather than a static, principle that is capable of adaption to meet

   the countless and variable schemes devised by those seeking to use others’ money on the promise

   of profits.’” Id. at 395 (quoting SEC v. W.J. Howey Co, 328 U.S. 293, 301 (1946)).

          An application of the Howey test concludes that BCCs, the BitConnect Lending Program

   and the BitConnect Staking Program are each deemed securities under the “investment contract”

   definition in Section 2(a)(1), 15 U.S.C. § 77b(a)(1), of the Securities Act. Howey Co., 328 U.S. at

   298–99. “Under Howey and its progeny, an offering is an investment contract if there is: ‘(1) an

   investment of money (2) in a common enterprise, (3) with the expectation of profits to come solely

   from the efforts of others.’” Tippens v. Round Island Plantation LLC., 2009 U.S. Dist. LEXIS

   66224, at *30 (S.D. Fla. July 31, 2009) (quoting SEC v. Unique Fin. Concepts, Inc., 196 F.3d 1195,

   1199 (11th Cir. 1999)).

          Plaintiffs allege that the Promoter Defendants engaged in the unlawful offer and sale of

   three different types of investment securities: (1) BCCs; (2) the BitConnect Lending Program; and

   (3) the BitConnect Staking Program. See, e.g., ¶¶ 236–37. Defendant ARCARO disputes only

   allegations concerning BCCs and thus, the analysis here pertains solely to BCCs. Given that

   ARCARO has not attempted to dispute allegations that the BitConnect Lending Program nor the

   BitConnect Staking Program also constitute investment securities, he is presumed to admit such

   allegations.



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          In any event, as detailed below, Defendant ARCARO’s arguments concerning whether

   BCCs are a security fail for obvious reasons.

                  1.      Purchases of BCCs Required An Investment of Money

          An investment of money under the Howey test includes digital currencies such as BTC. To

   purchase BCCs—whether as an investment asset or to participate in the BitConnect Investment

   Programs—putative class members invested BTC or fiat currency in order to receive BCC Tokens.

   Compl. ¶238. Digital currencies such as BTC are deemed “money” for the purposes of the Howey

   test. See, e.g., SEC v. Shavers, No. 4:13-cv-416, 2013 U.S. Dist. LEXIS 110018, at *4–5 (E.D.

   Tex. Aug. 6, 2013) (“First, the Court must determine whether the BTCST investments constitute

   an investment of money . . . Bitcoin is a currency or form of money, and investors wishing to invest

   in BTCST provided an investment of money”). Furthermore, “in spite of Howey’s reference to an

   ‘investment of money,’ it is well established that cash is not the only form of contribution or

   investment that will create an investment contract.” Uselton v. Comm. Lovelace Motor Freight,

   Inc., 940 F.2d 564, 574 (10th Cir. 1991).

          Moreover, “[a]n ‘investment of money’ refers to an arrangement whereby an investor

   commits assets to an enterprise or venture in such a manner as to subject himself to financial

   losses.” SEC v. Friendly, 49 F. Supp. 2d 1363, 1368–69 (S.D. Fla. 1999) (citing Stowell v. Ted S.

   Finkel Inv. Serves., Inc., 489 F. Supp. 1209, 1220 (S.D. Fla. 1980); see also SEC v. Comcao Ltd.,

   855 F. Supp. 1258, 1260 (S.D. Fla. 1994) (same).

          Defendant ARCARO’s purported Howey analysis fails when he argues that the first

   element of the Howey test is not satisfied because “BCC is simply not an investment of money.”

   Arcaro MTD at 13. In determining whether BCCs are securities, the question is whether the assets

   used to “invest” (i.e., purchase) BCC(s) constituted “money”—not whether BCC(s) themselves


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   are “money.” In short, ARCARO’s entire argument collapses due to its failure to comprehend the

   “investment of money” element considers whether the asset expended to purchase BCC(s) was

   “money” rather than whether BCC(s) was money itself.

                   2.    Investors in BCCs Invested in a Common Enterprise

          The Eleventh Circuit has adopted the vertical commonality test, under which “[a] common

   enterprise exists where the ‘fortunes of the investor are interwoven with and dependent upon the

   efforts and success of those seeking the investment or of third parties.’” SEC v. Unique, 196 F.3d

   at 1199 (citing Villeneuve v. Advanced Bus. Concepts Corp., 698 F.2d 1121, 1124 (11th Cir.

   1990)). “The requisite commonality is evidenced by the fact that the fortunes of all investors are

   inextricably tied to the efficacy of the [promoter].’” Id. at 1199–1200 (quoting SEC v. Koscot

   Interplanetary, Inc., 497 F.2d 473, 479 (5th Cir. 1974)).

          Here, Plaintiffs and the proposed Class were investing in a common enterprise with the

   Promoter Defendants, as the BTC and fiat currency invested were pooled under the control of

   Defendant BITCONNECT; and the success of the BitConnect platform -- and thus potential profits

   stemming from the future valuation of the BCC -- was entirely reliant on BITCONNECT and the

   Promoter Defendants’ actions, e.g., BITCONNECT’s implementation of its “proprietary, secret

   trading system,” which BITCONNECT claimed would produce returns sufficient to cover interest

   payments to the BCC holders. With respect to the Promoter Defendants, their anticipated success

   at soliciting additional purchases of BCC or luring additional victims to purchase BCCs and/or

   participate in the BitConnect Investment Programs was vital to increasing the value of BCC.

   Compl. ¶ 176.

          Further, the Promoter Defendants received commissions in BCCs and thus, it is evident

   that a portion of any potential value ascribed to the BCCs was expected to be allocated for their


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   personal benefits, in addition to Plaintiff’s and the Class’ benefit. Accordingly, it is abundantly

   clear that the success of BCC tied the interests of BITCONNECT investors to those of the Promoter

   Defendants; and any such success was entirely reliant on the defendants’ actions. As such, the

   “common enterprise” element of the Howey test is plainly met.

           Despite the foregoing, ARCARO argues that the “common enterprise element” of the

   Howey test has not been satisfied because: (a) “the fortunes of BCC purchaser [sic] are

   [purportedly] not interwoven with the fortunes of BitConnect or Mr. Arcaro”; and (b) “the facts of

   this case are distinguishable from those relating to a recent action in which the SEC contended that

   a token offering met the definition of an investment contract.” Arcaro MTD at 13 (citing In the

   Matter of Munchee Inc., Admin Proc., No. 3-18304, Release No. 10445 (Dec. 11, 2017)). These

   arguments fail because: (a) the Complaint has countless allegations that investors and ARCARO’s

   fortunes were tied together and, as noted, such allegations are deemed true in the context of a

   motion to dismiss under Rule 12(b)(6); (b) the common enterprise is obvious in the fact that

   ARCARO received a portion of his compensation in BCCs, and therefore potential increases in

   value to BCC would be for his benefit as well as those he solicited purchases from; (c) the common

   enterprise was the imaginary trading bot—but in reality the value of BCC was dependent on

   whether ARCARO, his team, and his international counterparts maintain and grow

   BITCONNECT’s fraudulent pyramid scheme.

                  3.      Investors in BCCs Invested With the Expectation of Profits Produced
                          By The Effort Of Others

          The third prong of the Howey test is satisfied when “the efforts made by those other than

   the investor are the undeniably significant ones, those essential managerial efforts which affect the

   failure or success of the enterprise.’” Balmert v. Pulte Home Corp., 445 Fed. Appx. 256, 262 (11th

   Cir. 2011) (quoting Williamson v. Tucker, 645 F.2d 404, 418 (11th Cir. 1981); see also SEC v.


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   Merchant Capital, LLC, 483 F.3d 747, 755 (11th Cir. 2007)(“‘the focus is on the dependency of

   the investor on the entrepreneurial or managerial skills of a promoter or other party’”) (quoting

   Gordon v. Terry, 684 F.2d 736, 741 (11th Cir. 1982)).

           Here, it is indisputable that the value and existence of the BCCs have been at all times

   entirely dependent on BITCONNECT and the Promoter Defendants’ actions. Indeed, absent the

   Promoter Defendants, and their counterparts throughout the world, having been able to grow their

   MLM pyramids, BITCONNECT would never have achieved the pervasive level of harm that it

   did. Accordingly, the “essential managerial efforts” underpinning the success or failure of

   BITCONNECT’s fraudulent schemes were to be, inter alia, Defendants’. Thus, this element is

   satisfied.

           Despite the foregoing, ARCARO argues that this third element is not satisfied because

   investors had the freedom to buy and sell BCCs when they pleased. The notion that Plaintiffs’ and

   the Class’ freedom to decide when to sell their BCCs could ever constitute “significant investor

   control” is nonsensical. To have sufficient “control,” investors would have to have substantial

   control over the enterprise itself – not over the disposition of the security. After all, a stock can be

   bought or sold, but that does not mean it is not a security. Moreover, as a factual matter, many

   investors were unable to even sell their BCCs when BITCONNECT shut down its Investment

   Programs in January 2018. Furthermore, this argument fails because BCCs would literally not

   exist but for BITCONNECT’s managerial efforts. 13 Thus, Arcaro’s argument on this point should

   be disregarded.


   13
           BITCONNECT created and sold BCC, and described them as “an open source, peer-to-
   peer, community driven decentralized cryptocurrency that allow [sic] people to store and invest
   their wealth in a non-government-controlled currency, and even earn a substantial interest on
   investment [sic]. This means anyone holding BitConnect Coin in their wallet will receive interest
   on their balance in return for helping maintain security on the network.” Similarly, BCC was


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          4.      Representations To Investors

          Courts in the Eleventh Circuit also look to the representations made to investors and what

   they were led to expect. See e.g., Merchant, 483 F.3d at 756 (“Consistent with Howey’s focus on

   substance over form, we look at all the representations made by the promoter in marketing the

   interests . . ..”) (citing SEC v. Joiner, 320 U.S. 344, 353 (1943)). Here, the Complaint is replete

   with examples of the Promoter Defendants presenting BITCONNECT as an investment

   opportunity for the purposes of making a profit. Trading BCC was marketed as an “investment

   option” that could be “used to profit on price fluctuation” in that investors could “buy BitConnect

   coin at a lower price and sell[ ] them at [a] higher price.” Additionally, investors could “profit[ ]

   from downward movements in [BCC] price by selling them at a higher price and buy[ing] them

   again at a lower price and pocketing the price difference.” Compl. ¶ 114. Similarly, ARCARO’s

   website promised that “[p]assive income is just a click away” for investors who “join Bitconnect”,

   and that investors would “MAKE HUGE PROFITS WITH BITCONNECT”. Compl. ¶¶ 153, 154.

   Defendant MAASEN, for his own part, disseminated dozens of YOUTUBE videos promoting

   BITCONNECT investments, offering the prospect of substantial profits to potential investors.

   Compl. ¶¶ 167.

          C.      The Promoter Defendants Are Each “Statutory Sellers” Under Pinter v. Dahl

          Section 12(a)(1) creates liability against any person who “offers or sells” an unregistered

   security “to the person who purchased such security from him.” 15 U.S.C. § 77l(a)(1). “In Pinter,

   the Court held that liability extends beyond those who pass title to a security; those who solicit a

   purchase may also face liability as ‘sellers’ under section 12[a](1) of the Securities Act.” Moore



   described as not just “an investment tool; [but as] the investment tool you need to jump start your
   financial security.” Compl. ¶ 84.

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   v. Kayport Package Express, 885 F.2d 531, 535 (9th Cir 1989) (stating that the Supreme Court’s

   holding in Pinter v. Dahl, 486 U.S. 622 (1988)) was premised on, in part, it having “reasoned that

   Congress intended to impose liability on those who solicit because ‘solicitation of a buyer is

   perhaps the most critical stage of the selling transaction’”) (quoting Pinter, 486 U.S. at 646). In

   reaching this conclusion, the Pinter court interpreted the words “offers or sells” and the word

   “from” in Section 12(a)(1).

           The Pinter court ultimately determined that there are two types of sellers: (1) direct sellers

   passing title; and (2) those engaged in solicitation of the purchase or sale. With respect to the latter,

   the Court established a two-part test for determining whether a defendant was a “statutory seller”

   under Section 12(a)(1), holding that “liability extends to the person who [1] successfully solicits

   the purchase, [2] motivated at least in part by a desire to serve his own financial interests or those

   of the securities owner.” Id. at 622, 647.. The Court found that so long as these two elements are

   met, then “it is fair to say that the buyer ‘purchased’ the security from him . . . .” Id. at 638

   (emphasis added).

           Each of the Promoter Defendants was literally paid to solicit investments in

   BITCONNECT, whether through the purchase of BCCs or the BitConnect Investment Programs.

   Thus, each is clearly a “statutory seller” under Pinter. Nevertheless, ARCARO and MAASEN

   argue that because they did not personally sell BCCs to Plaintiffs, they are not sellers of BCCs for

   the purposes of a Section 12(a)(1) claim. See, e.g., Arcaro Motion at 2 (arguing that ARCARO

   “did not ‘sell BCC within the meaning of the statute and relevant case law”); see also Maasen

   MTD at 13.

           As noted above, in Pinter, the Supreme Court held that liability under Section 12(a)(1) may

   extend to those who solicit a purchase so long as it was for their own or the sellers’ financial



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   benefit. Pinter, 486 U.S. at 638. In reaching this ruling, the Supreme Court provided the following

   reasoning:

            A natural reading of the statutory language would include in the statutory seller
            status at least some persons who urged the buyer to purchase. For example, a
            securities vendor's agent who solicited the purchase would commonly be said, and
            would be thought by the buyer, to be among those “from” whom the buyer
            “purchased,” even though the agent himself did not pass title.

            Here, the Promoter Defendants each fall squarely within the Supreme Court’s definition of

   a “statutory seller” because they both: (a) “solicited the purchase” of unregistered securities (BCCs

   and the BitConnect investment Programs; and (b) did so for their own financial benefit. Indeed,

   the Promoter Defendants’ activities were precisely those which the court described in its reasoning

   for adopting its definition. In short, the Promoter Defendants, who were employed to solicit

   investments in BITCONNECT, are deemed “sellers” under Section 12(a)(1) of the Securities Act.

            D.     Defendant Arcaro Is Liable as a Control Person Under Section 15(a) of the
                   Securities Act

            Liability under Section 15(a) of the Securities Act requires an underlying violation of the

   Securities Act. To state a claim under Section 15(a), a plaintiff must allege: (1) a primary violation

   of the securities laws by a controlled company; (2) that the defendant had “the power to control

   the business affairs of” the controlled company; and (3) that the defendant “had the requisite power

   to directly or indirectly control or influence the specific corporate policy which resulted in primary

   liability.” Theoharous v. Fong, 256 F.3d 1219, 1227 (11th Cir. 2001) (quotation marks omitted).

   The element of “culpable participation” is not a prerequisite at the pleading stage. See Freed v

   Universal Health Servs., No. 04-1233, 2005 U.S. Dist. LEXIS 7789, at *34 n.6 (E.D. Pa. May 3,

   2005).

            Defendant ARCARO seeks dismissal on the basis that the Complaint does not allege that

   he had control over BITCONNECT. This is false. Indeed, such control is evidence in the


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   Complaint’s allegations setting forth details as to his disbursement of BITCONNECT’s funds as

   he pleased to Defendants Trevon James and Craig Grant; his decisions regarding BITCONNECT’s

   promotional materials; his organization of the BitConnect Yacht party, club events, conferences,

   and even the BitConnect School. Compl. at ¶¶ 95-96, 133-156.

          In short, Defendant ARCARO had a significant amount of control over BITCONNECT’s

   actions and is therefore subject to control person liability under Section 15(a) of the Securities Act.

   IV.    UNJUST ENRICHMENT

          “Under Florida law, ‘[a] claim for unjust enrichment has three elements: (1) the plaintiff

   has conferred a benefit on the defendant; (2) the defendant voluntarily accepted and retained that

   benefit; and (3) the circumstances are such that it would be inequitable for the defendant to retain

   it without paying the value thereof.’” Cimaglia v. Moore, 724 F. App'x 695, 698 (11th Cir. 2018)

   (quoting Virgilio v. Ryland Grp., Inc., 680 F.3d 1329, 1337 (11th Cir. 2012)). The Complaint

   contains ample allegations sufficient to satisfy each of these elements. See, e.g., Compl. ¶ 291

   (alleging that ARCARO and MAASEN were among those which “reaped monetary rewards from

   operating and/or personally benefiting from inducing Plaintiffs and the Class to invest in fraudulent

   Ponzi/pyramid schemes (BCC and/or the BitConnect Investment Programs), thereby causing

   actual harm to thousands of investors.”).

          The Promoter Defendants each seek dismissal under Rule 12(b)(2) of the Complaint’s

   unjust enrichment claim on the grounds that unjust enrichment claims under Florida law,

   purportedly, require a plaintiff to allege and show that they “directly conferred a benefit on the

   defendants.” Arcaro MTD at 24; see also Maasen MTD (claiming that Plaintiffs must show the

   they “directly conferred a benefit” on MAASEN and that an “indirect benefit” cannot support their

   unjust enrichment claim).


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          This argument fails because Plaintiffs clearly allege that the Promoter Defendants benefited

   directly and indirectly as a result of Plaintiffs’ and the proposed class’ investments in

   BITCONNECT’s unlawful investment offerings.           For example, the Complaint alleges that:

   “BITCONNECT used new BITCONNECT investors’ funds to pay the BITCONNECT Directors

   and affiliates – including but not limited to, Defendants . . . ARCARO . . . and MAASEN – salary

   and commissions for their role in bring additional victims into the scheme.”       Compl. ¶ 170.

   Moreover, the direct benefit conferred on ARCARO and MAASEN is painfully obvious—they

   both received commissions which were a percentage of the amount of investments they or those

   in their “downline” were able to successfully solicit. See, e.g., id. ¶ 6 (explaining the mechanics

   of the BitConnect Referral Program operated to provide affiliate—such as the Promoter

   Defendants—with “a percentage of any investments made by the investors they referred as well as

   a portion of the investments made by subsequent investors recruited by their referrals, and so

   forth—a standard multi-level marketing (“MLM”) scheme”).

          In any event, consideration of whether an indirect or direct benefit was conferred is

   unnecessary given the fact that each of the Promoter Defendants, once again, misstate the standards

   of law applicable to Plaintiffs’ unjust enrichment claims. That is, contrary to the Promoter

   Defendants’ claims, there is no requirement that Plaintiffs allege or show that a “direct” benefit

   was conferred on ARCARO or MAASEN by way of a direct transfer of their personal funds to the

   Promoter Defendants to sustain their claims for unjust enrichment. Rather, “just because the

   benefit conferred by Plaintiffs on Defendants did not pass directly from Plaintiffs to Defendants

   — but instead passed through a third party — does not preclude an unjust-enrichment claim.

   Indeed to hold otherwise would be to undermine the equitable purpose of unjust enrichment

   claims.” Williams v. Wells Fargo Bank N.A., No. 11-21233-CIV-ALTONAGA/Simonton, 2011



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   U.S. Dist. LEXIS 119136, at *14-15 (S.D. Fla. Oct. 14, 2011) (citations omitted). In fact, earlier

   this year, “the Eleventh Circuit . . . found that a plaintiff may have conferred a ‘direct benefit’ on

   a defendant through an intermediary where . . . the defendant directly profited from and involved

   in depriving the plaintiff of the benefit at issue.” Coffey v. WCW & Air, Inc., No. 3:17-cv-90-

   MCR-CJK, 2018 U.S. Dist. LEXIS 148122, at *23 (N.D. Fla. Aug. 30, 2018) (citing Cimaglia,

   724 F. App’x at 699).

          In sum, Defendants’ arguments seeking dismissal of Plaintiffs’ unjust enrichment claim

   fail, as Plaintiffs allege defendants received a direct benefit from their and the putative class’

   investments in BITCONNECT; and in any event, Defendants’ analyses are based on an incorrect

   standard of law.

   V.     PLAINTIFFS’ COMPLAINT CONTAINS ADEQUATE ALLEGATIONS
          SUPPORTING THEIR CLAIM UNDER FDUTPA

          As set forth in the Complaint, “Chapter 501, Fla. Stat., Florida’s Deceptive and Unfair

   Trade Practices Act is to be liberally construed to protect the consuming public, such as Plaintiffs

   and the Class Members in this case, from those who engage in unfair methods of competition, or

   unconscionable, deceptive or unfair acts or practices in the conduct of any trade or commerce.”

   Compl. ¶ 294.

           “A claim for damages under FDUTPA has three elements: (1) a deceptive act or unfair

   practice in the course of trade or commerce; (2) causation; and (3) actual damages.” Harris v

   Nordyne, LLC, No. 14-CIV-21884-BLOOM/Valle, 2014 U.S. Dist. LEXIS 189248, at *13 (S.D.

   Fla. Nov. 13, 2014,) (citing See Rollins, Inc. v. Butland, 951 So. 2d 860, 869 (Fla. 2d DCA 2006).

   FDUTPA’s “coverage is ‘extremely broad,’ and has been applied to class action claims alleging

   failure to disclose relatively benign product defects.” Id. at 15 (collecting cases standing for the

   proposition that while “FDUTPA does not define what constitutes ‘unfair and deceptive,’ courts


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   have held that the statute should be construed liberally and that the concept should be regarded as

   extremely broad.”).

          A.      Arcaro’s Arguments Fail to Warrant Dismissal of Plaintiffs FDUPTA Claims

          The Complaint’s allegations establish each of the required elements for their claim under

   FDUTPA. Notwithstanding that patent fact, the Promoter defendants each seek dismissal of

   Plaintiffs’ FDUTPA claim. More specifically, ARCARO argues that the FDUTPA claims should

   be dismissed on the grounds that: (1) the alleged misstatements regarding BITCONNECT did not

   occur within Florida and thus a valid claim cannot be sustained; and (2) violations of Section

   12(a)(1) and 15(a) do not constitute per se violations of FDUPTA. Id. Each of these arguments

   fail because: (a) FDUTPA does not only protect consumers within Florida but also out-of-state

   residents 14, (b) even if such a requirement existed, there are numerous putative class members that

   are residents of Florida and more than willing to join this action as a named plaintiff and thus, the

   purported requirement could be swiftly met; and (c) Plaintiffs need not establish a per se violation

   of FDUTPA, rather, as noted, “[t]o state a cause of action under FDUTPA, Plaintiff must allege

   ‘(1) a deceptive act or unfair practice; (2) causation; and (3) actual damages.’ Bowe v Pub. Stor.,

   No. 1:14-cv-21559-UU, 2014 U.S. Dist. LEXIS 195556, at *9 (S.D. Fla. July 2, 2014) (citation

   omitted).

          Defendant ARCARO further argues that Plaintiffs’ FDUTPA claims must be dismissed

   because Plaintiffs purportedly “could not have reasonably relied on any alleged misstatements.”



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     See, e.g., Barnext Offshore, Ltd. v Ferretti Group USA, Inc., No. 10-23869-CIV, 2012 U.S. Dist.
   LEXIS 61710, at *19 (S.D. Fla. May 2, 2012) (discussing the court’s holding in Millennium
   Communs. & Fulfillment, Inc. v Off. of the AG, Dept. of Legal Affairs, 761 So 2d 1256, 1261 (Fla.
   3d DCA 2000) in which It was “not persuaded by th[e] holding [in Ortiz, 764 So. 2d 7, that the
   FDUTPA protects only Florida residents] . . . because as we have earlier noted, there are no
   geographical or residential restrictions contained in the express language of section 501.202”).


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   Arcaro MTD at 22. Contrary to ARCARO’s claims, there is no reliance requirement whatsoever

   for claims under FDUTPA. See, e.g., Carriuolo v GM Co., 823 F.3d 977, 984 (11th Cir. 2016)

   (“Under Florida law, an objective test is employed in determining whether the practice was likely

   to deceive a consumer acting reasonably. That is, ‘[a] party asserting a deceptive trade practice

   claim need not show actual reliance on the representation or omission at issue.’”) (quoting Davis

   v. Powertel, Inc., 776 So. 2d 971, 973 (Fla. Dist. Ct. App. 2000). In other words, Plaintiffs could

   have never even heard of ARCARO prior to this action and still be able to maintain a FDUTPA

   claim so long as they can show that some hypothetical unidentified “reasonable” person/investor

   could have/would have relied on ARCARO’s statements made in soliciting investments in

   BITCONNECT.

   VI.    FRAUDULENT INDUCEMENT, FRAUDULENT MISREPRESENTATION AND
          NEGLIGENT MISREPRESENTATION

          Defendant ARCARO argues that each of Plaintiffs’ Fraudulent Inducement, Fraudulent

   Misrepresentation and Negligent Misrepresentation claims should be dismissed because Plaintiffs

   have purportedly failed to identify an unfair or deceptive act or omission and failed to allege the

   required element of causation. More specifically, ARCARO argues Plaintiffs “could not possibly

   have reasonably relied on any misrepresentations allegedly made to them regarding BitConnect’s

   Investment Programs.” To make this argument, ARCARO cites to a 1993 opinion from a Florida

   appellate court which purportedly supports ARCARO’s proposition that “[t]he reliance element

   for fraudulent inducement and misrepresentation is virtually identical and requires that plaintiff

   reasonably rely on a false statement made by a defendant.” Arcaro MTD at 21. ARCARO’s claim

   in that regard directly contradicts the Eleventh Circuit Court of Appeals’ holding in Helman v Bank

   of Am., 685 F App'x 723, 729, n. 5 (11th Cir 2017), which correctly notes that mere reliance—not

   justifiable reliance—is sufficient to state a claim for fraudulent inducement under Florida law. Id.


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          Nevertheless, ARCARO fails to submit any actual basis to demonstrate why Plaintiffs were

   purportedly “unreasonable” in investing in BITCONNECT other than his ridiculous contention

   that the Complaint’s arguments concerning YOUTUBE having been on notice of the

   BITCONNECT fraud due to its position as gatekeeper for its “partners”—e.g., ARCARO and

   MAASEN—belie Plaintiffs’ arguments “reasonable reliance by showing that no hypothetical

   reasonable   investor   would   have   invested     in   BitConnect   and   considered   Arcaro’s

   misstatements/solicitations as containing the truth. In essence, ARCARO’s position does nothing

   more than suggest that the tens of thousands, probably hundreds of thousands, of individuals who

   invested in BITCONNECT were being unreasonable. Moreover, this argument stops just short of

   ARCARO acknowledging that he knew BITCONNECT was offering fraudulent investment

   opportunities, because he essentially contends that the investors should have known.

          Regardless, ARCARO’s effort to use Plaintiffs’ allegations as to Defendant YOUTUBE to

   support dismissal of Plaintiffs’ claims against ARCARO fails due to the obvious fact that, as set

   forth infra, YOUTUBE voluntarily assumed the role as gatekeeper for what content was

   appropriate for its partners to disseminate (by enacting various policies, which it then did not

   follow). Moreover, not only was it YOUTUBE’s job to monitor these promotional materials, but

   it also, at all times, had access to proprietary algorithms, thousands of employees, and Google’s

   massive resources. The “reasonable investor” did not assume such role nor did they have access

   to any of the foregoing resources. In short, the insinuation that the standard of reasonableness

   applicable to YOUTUBE is interchangeable with that for the “reasonable investor” is ludicrous.




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   VII.   CONVERSION AND CIVIL CONSPIRACY

          ARCARO’s final argument concerns Plaintiffs’ conversion claim—he makes no attempt

   to dispute Plaintiffs’ claim for civil conspiracy. 15 “Under Florida law, ‘[a] conversion consists of

   an act in derogation of the plaintiff's possessory rights, and any wrongful exercise or assumption

   of authority over another's goods, depriving him of the possession, permanently or for an indefinite

   time, is a conversion." Palm Beach Golf Ctr.-Boca, Inc. v John G. Sarris, D.D.S., P.A., 781 F.3d

   1245, 1258-1259 (11th Cir. 2015) (citing Star Fruit Co. v. Eagle Lake Growers, Inc., 160 Fla. 130,

   132, 33 (1948)). The Promoter Defendants each seek dismissal of Plaintiffs’ conversion claims

   on the legally deficient notion that because the Promoter Defendants purportedly never personally

   held the literal dollars invested, Plaintiffs’ claim must fail. The Promoter Defendants provide no

   legal authorities in making this argument; and thus, it warrants no consideration.

   VIII. PLAINTIFFS HAVE ADEQUATELY PLED THEIR NEGLIGENT FAILURE TO
         WARN CLAIM AGAINST YOUTUBE

          A.      Elements Of Plaintiffs’ Negligence Claim

          A claim for negligent failure to warn contains the same four elements applicable to any

   other negligence claim: “(1) that the defendant had a duty; (2) that the defendant failed to provide

   adequate warnings of the hazards of a particular product, thereby breaching that duty; (3) that the

   breach was the proximate cause of the plaintiff's harm; (4) that the plaintiff suffered injury as a

   result.” Bodie v Purdue Pharma Co., 236 F App'x 511, 518 (11th Cir 2007) (citing Toole v. Baxter

   Healthcare Corp., 235 F.3d 1307, 1314 (11th Cir. 2000)). Defendant YOUTUBE submits




   15
      Defendant MAASEN submits an argument purporting to warrant dismissal of Plaintiffs’ civil
   conspiracy claim, though it merely argues that MAASEN was not involved with BITCONNECT
   to the extent that he could have taken part in a conspiracy. However, MAASEN’s argument in
   this respect is belied by virtue of his employment as a “Regional Promoter.”
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   arguments concerning solely the first of these elements, i.e., that it owed no duty to Plaintiffs or

   the putative class of BITCONNECT victims.

          B.      YouTube Assumed the Duty to Warn The Putative Class

          Defendant YOUTUBE argues that it had no “special relationship” with Plaintiffs and thus,

   could not have assumed a duty to warn. Contrary to YOUTUBE’s claim, they did have a “special

   relationship” with Plaintiffs and the proposed class—one resulting from YOUTUBE’s “partners”,

   like the Promoter Defendants, successfully soliciting investments in BITCONNECT. Regardless,

   this question is moot given that a duty to warn attaches not only where a special relationship exists

   with the plaintiff, but also from YOUTUBE’s ability to control its partner’s solicitation efforts.

   “‘Under the common law, a person has no duty to control the conduct of another or to warn those

   placed in danger by such conduct unless a special relationship exists between the defendant and

   the persons whose behavior needs to be controlled or the foreseeable victim of such conduct.’ . . .

   Thus, at trial, Plaintiffs would be required to show that Defendant either had a special relationship

   with Shah, whose alleged behavior needed controlling, or with Plaintiffs, the alleged foreseeable

   victims of such conduct.” Cia. de Elaborados de Cafe v Cardinal Capital Mgt., 401 F.Supp 2d

   1270, 1279 (S.D. Fla. 2003) (quoting Twiss v. Kury, 25 F.3d 1551, 1555 (11th Cir. 1994)). As

   alleged in the Complaint, YOUTUBE indeed had a special relationship with its promotional

   partners (like the Promoter Defendants) and had the ability, as well as the obligation, to control

   the harmful content being disseminated by those partners. Compl. at ¶¶ 193-227.

          C.      YouTube Is Not “Immune” From Liability For Its Negligence In Fulfilling A
                  Duty It Imposed On Itself

          YOUTUBE seeks dismissal of Plaintiffs’ negligence claim under Rule 12(b)(6) on the

   basis that YOUTUBE is immune under Section 230 of the CDA. Under Section 230, “[n]o

   provider or user of an interactive computer service shall be treated as the publisher or speaker of


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   any information provided by another information content provider.” “‘The majority of federal

   circuits have interpreted the CDA to establish broad federal immunity to any cause of action that

   would make service providers liable for information originating with a third party user of the

   service.’” Dowbenko v Google Inc., 582 F App'x 801, 804 (11th Cir 2014) (quoting Almeida v.

   Amazon.com, Inc., 456 F.3d 1316, 1321 (11th Cir. 2006)).

          Section 230’s “grant of immunity is not without limits, however. It applies only to the

   extent that an interactive computer service provider is not also the information content provider of

   the content at issue. An ‘information content provider’ is defined as ‘any person or entity that is

   responsible, in whole or in part, for the creation or development of information provided through

   the Internet or any other interactive computer service.” Accordingly, “if a website operator is in

   part responsible for the creation or development of content, then it is an information content

   provider as to that content — and is not immune from claims predicated on it. Am. Income Life

   Ins. Co. v Google, Inc., No. 2:11-CV-4126-SLB, 2014 U.S. Dist. LEXIS 124870, at *18-20 (ND

   Ala Sep. 8, 2014) (citing Carafano v. Metrosplash.com, Inc., 339 F.3d 1119, 1123 (9th Cir. 2003)).

          As set forth in the Complaint, several of the affiliate/marketer defendants were also

   YOUTUBE’s “content partners.” It was through these “partnerships” that BITCONNECT’s top

   affiliates published tens of thousands of hours of content promoting BITCONNECT’s unlawful

   sales of securities and lured in millions of prospective investors. As set forth in the Complaint,

   YOUTUBE “fosters a close business relationship with its most popular content providers – a

   relationship designed to inure to both YOUTUBE’s and the content provider’s great economic

   benefit – through its ‘YouTube Partner Program.’” Compl. at ¶ 193. In short, YOUTUBE played

   a substantially greater role in disseminating BITCONNECT’s unlawful investment opportunities

   than that of a run-of-the-mill service provider of an “interactive computer service.” Due to the



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   foregoing, content published by YOUTUBE’s “partners”—such as ARCARO and MAASEN—

   were not merely disseminated by “third parties” disassociated from YOUTUBE but rather by

   YOUTUBE itself and its respective partners. Accordingly, YOUTUBE is not immune from

   Plaintiffs’ negligence claim under Section 230 of the CDA.

          While the CDA does confer broad immunity upon “service providers” that provide an

   “interactive computer service” for third parties to post their own content, such immunity does not

   extend to parties seeking dismissal under Rule 12(b)(6) because Section 230 of the CDA

   purportedly provides YOUTUBE with “federal immunity” from Plaintiffs’ claim because (a)

   “service providers” are “immune” from liability for information originating with third party users

   of their service; and (b) YOUTUBE purportedly did not have a “special relationship” with

   Plaintiffs and the proposed class and thus, it had no duty that could be breached.

          In its Motion to Dismiss, YOUTUBE brushes aside its partnerships entirely by lamely

   suggesting that its use of the word “partner” was intended to refer to “little more than a user who

   uploaded videos that received more than a certain number of views and thus was eligible to share

   advertising revenue generated by the videos” and that these “‘partnerships’ did not fundamentally

   transform the relationship between YouTube and such users.”             YouTube Motion at 19.

   YOUTUBE’s “partnerships” were undoubtedly more involved than YOUTUBE’s coy position

   reveals to the Court. For example, YOUTUBE actively and loudly solicited partners (like the

   Promoter Defendants) from whom it believed it would develop a financially lucrative relationship:




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   Moreover, to join the program, a user needed to meet significant eligibility standards that

   YOUTUBE closely scrutinized. Accordingly, it is entirely reasonable to infer that YOUTUBE’s

   involvement in reviewing or editing the BITCONNECT-affiliated promoters in the YouTube

   Partnership Program rose to or above the minimal level necessary for which Section 230’s

   immunity would not apply. See Am. Income Life Ins. Co., 2014 U.S. Dist. LEXIS 124870, at *18-

   20. 16

            YOUTUBE’s attempt to immunize itself under Section 230 lacks merit by virtue of the fact

   that Plaintiffs’ negligence claim does not arise from YOUTUBE’s activities as a mere “service

   provider” enabling “third parties” to post content and thus, Plaintiffs claims do not seek to hold

   YOUTUBE liable as a “publisher.” Rather, YOUTUBE’s negligence occurred by its failure to

   enforce against its own business partners its internal policies that are designed to prevent the

   dissemination of harmful materials. Finally, YOUTUBE did have a “special relationship” not only

   with its “partners” but also with Plaintiffs and the proposed class in that YOUTUBE was engaged

   in numerous partnerships with persons, like the Promoter Defendants, who successfully solicited

   investments in BITCONNECT. Regardless, this question is moot given that a duty to warn attaches

   not only where a special relationship exists with the plaintiff, but also from YOUTUBE’s ability

   to control its partner’s solicitation efforts. Cia. de Elaborados de Café, 401 F.Supp. 2d at 1279.




   16
     Plaintiffs are currently unable to discern YOUTUBE’s level of involvement in their reviews of,
   or edits to, any BITCONNECT-related promotional materials released by their “partners” on the
   YouTube platform. However, Plaintiffs would be able to identify such during discovery.
   Accordingly, Plaintiffs submit that granting YOUTUBE blanket immunity under Section 230 of
   the CDA would be improper at this preliminary stage of the pleadings, as Plaintiffs should be
   permitted to investigate the nature of YOUTUBE’s “partnerships” with the individual
   BITCONNECT-related individuals.
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                                            CONCLUSION

          For the foregoing reasons, the Court should deny Defendants ARCARO’s [DE 94],

   MAASEN’s [DE 86], and YOUTUBE’s [DE 88] Motions to Dismiss. To the extent that the

   Complaint fails to adequately allege facts as to any claim, Plaintiffs submit that they can cure any

   such deficiencies and respectfully request leave to amend to do so.

                                                        Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a copy of the foregoing was electronically filed with the Clerk
   of Court on this 20th day of November 2018 by using the CM/ECF system and that a true and
   correct copy will be served via electronic mail to: All Counsel of Record on the attached Service
   List.
                                                          /s/ David C. Silver
                                                              DAVID C. SILVER




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